WILSON H. LEE CO., PETITIONER, v. COMMISSIONER OF INTERNAL REVENUE, RESPONDENT.Wilson H. Lee Co. v. CommissionerDocket No. 10911.United States Board of Tax Appeals10 B.T.A. 283; 1928 BTA LEXIS 4132; January 27, 1928, Promulgated *4132  Worthless debt allowed as a deduction from gross income for 1921.  Henry F. Parmelee, Esq., and Barry Mohun, Esq., for the petitioner.  J. E. Marshall, Esq., for the respondent.  LITTLETON*283  The Commissioner determined deficiencies of $1,030.55 for the fiscal year ending February 29, 1920, and $8,768.17 for the fiscal year ending February 28, 1921.  It is claimed that the Commissioner erred in refusing to allow deduction of $23,051.80 for the fiscal year ending February 28, 1921, as a worthless debt.  FINDINGS OF FACT.  Petitioner is a Connecticut corporation engaged in the printing business at New Haven.  During the taxable years and for several years prior thereto, petitioner did the printing for the Connecticut Farmer Co., a corporation engaged in the publication of a farm paper at New Haven.  The farm paper published by the Connecticut Farmer Co. was of 50 years standing.  For some time prior to the taxable years the Connecticut Farmer had not been successful in its operations.  Prior to the taxable years Wilson H. Lee, who was the principal stockholder of petitioner, and who had been engaged in the printing business for more than*4133  50 years, became interested in making the Connecticut Farmer a success.  With this end in view, he, as an individual, entered into a contract with the officers and stockholders of the Connecticut Farmer Co., the provisions of which are not material to the question herein presented.  For some time Lee endeavored to obtain the services of a competent manager and editor for the Connecticut Farmer.  He also endeavored to sell the corporation or acquire new capital.  Negotiations were carried on for some time.  During the fiscal year 1920 and part of the fiscal year ending in 1921, Lee believed that negotiations then being carried on by him would result in the sale or reorganization of the corporation and that it would thereby be able to pay its debts and operate at a profit.  During the year ending February 28, 1921, these negotiations failed and there was no hope that the Connecticut Farmer Co. could meet its liabilities and it was only a matter of time until the corporation would be compelled to cease business.  In the fiscal year ending in 1921, petitioner definitely determined that the corporation would never be able to pay *284  its debts, which were considerably in excess*4134  of its resources, and that there was little likelihood that the corporation would ever be able to meet current expenses.  In 1924 the Connecticut Farmer, without reducing its outstanding indebtedness, ceased business and was dissolved.  At March 1, 1919, the Connecticut Farmer Co. was indebted to the petitioner in the amount of $20,729.80 and during the fiscal year ending February 29, 1920, it became further indebted to petitioner for printing in the amount of $6,501.71.  During this year the Connecticuit Farmer Co. was able to pay petitioner only $4,179.71 on its account.  On February 28, 1920, petitioner, in order to aid the negotiations being carried on by Lee, its principal stockholder, for the sale or reorganization of the debtor corporation, charged off to profit and loss $4,619.50 of the amount due it, as a bad debt, leaving the balance due on March 1, 1920, of $18,432.30.  On February 28, 1921, there were no prospects that petitioner would ever be able to collect the amount due it by the Connecticut Farmer Co. and the debt was worthless.  On that date the amount of $18,432.30 was charged off by petitioner as uncollectible.  OPINION.  LITTLETON: The Commissioner refused*4135  to allow petitioner any deduction on account of the debt due it by the Connecticut Farmer Co. either for 1920 or 1921.  Petitioner now concedes that the disallowance of the partial charge-off of $4,619.50 as a deduction in the fiscal year ending February 29, 1920, was proper, but claims that it is entitled to a deduction of this amount together with the amount charged off in 1921, totaling $23,051.80 for the fiscal year ending February 28, 1921.  We are of the opinion that the deduction claimed should be allowed.  The evidence shows that during the year ending February 29, 1920, and a portion of the year ending February 28, 1921, there were prospects of the sale or reorganization of the Connecticut Farmer Co. and the petitioner had hopes of collection of all or a portion of the indebtedness.  The debt was not wholly worthless in the calendar year 1920.  The partial charge-off in that year was therefore correctly disallowed by the Commissioner.  At February 28, 1921, negotiations for the sale or reorganization of the Connecticut Farmer Co. had failed and petitioner's principal officer and stockholder had failed in his efforts to find a competent manager and editor. *4136  The liabilities of the Connecticut Farmer, exclusive of capital stock, exceeded its assets by more than $32,000.  The amounts of $4,619.50 charged off at February 29, 1920, and $18,432.30 charged off February 28, 1921, were worthless and uncollectible at February 28, 1921, and the total of $23,051.80 was a proper deduction from gross income for the fiscal year ending February 28, 1921.  ; *285 ; ; ; . Judgment will be entered on 15 days' notice, under Rule 50.